Case 22-10893-mdc          Doc 65    Filed 09/28/23 Entered 09/28/23 15:37:26              Desc Main
                                     Document     Page 1 of 2



                  IN THE UNITED STATES BANKRUPTCY COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA (Philadelphia)

 IN RE:
 NATHANIEL MESSER                                          Case No. 22-10893-mdc
 ALETHEA MESSER
        Debtors
                                                           Chapter 13
 FREEDOM MORTGAGE CORPORATION
         Movant

 vs.
 NATHANIEL MESSER
 ALETHEA MESSER                                            11 U.S.C. §362
      Respondents

                        NOTICE OF MOTION, RESPONSE DEADLINE
                                 AND HEARING DATE

     Freedom Mortgage Corporation (hereinafter “Movant”) has filed a Motion for Relief from the
Automatic Stay with the Court.

       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you
may wish to consult an attorney.)

        1.       If you do not want the Court to grant relief sought in the motion or if you want the
Court to consider your views on the motion, then on or before 10/17/2023 you or your attorney must
do all of the following:

               (a) file an answer explaining your position at:

                       Clerk's Office, U.S. Bankruptcy Court
                       Eastern District of Pennsylvania
                       Robert N.C. Nix, Sr. Federal Courthouse
                       900 Market Street, Suite 400
                       Philadelphia, PA 19107

If you mail your answer to the bankruptcy clerk’s office for filing, you must mail it early enough so
that it will be received on or before the date stated above; and

               (b) mail a copy to the Movant’s attorney:

                       Brock and Scott, PLLC
                       3825 Forrestgate Drive
                       Winston Salem, NC 27103
Case 22-10893-mdc          Doc 65    Filed 09/28/23 Entered 09/28/23 15:37:26              Desc Main
                                     Document     Page 2 of 2




       2.      If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b)
above and attend the hearing, the Court may enter an Order granting the relief requested in the motion.

        3.     A hearing on the motion is scheduled to be held before the Honorable Magdeline D.
Coleman on 10/24/2023 at 10:30 am, in Courtroom #2, United States Bankruptcy Court, Robert N.C.
Nix, Sr. Federal Courthouse, 900 Market Street, Philadelphia, PA 19107.

       4.      If a copy of the motion is not enclosed, a copy of the motion will be provided to you if
you request a copy from the attorneys named in paragraph 1(b).

        5.     You may contact the Bankruptcy Clerk’s office in Philadelphia at (215) 408-2800 to
find out whether the hearing has been cancelled because no one filed an answer.


September 28, 2023
